
Per curiam.
Respondent H. Norwood Pearce has petitioned for voluntary surrender of his license to practice law in the State of Georgia. The petition is based on his admission of a violation of Standard 66 of State Bar Rule 4-102, in that he pled guilty to one count of theft by receiving stolen property.
We adopt the Special Master’s recommendation that respondent’s petition be accepted, and direct that he be allowed to surrender his license to practice law. Because voluntary surrender of a license is tantamount to disbarment, before reinstatement will be considered respondent must comply with reinstatement procedures of the State Bar of Georgia in effect at the time of any reinstatement petition.

All the Justices concur.

*697Decided November 20, 1991.
William P. Smith III, General Counsel State Bar, E. Duane Cooper, Assistant General Counsel State Bar, for State Bar of Georgia.
Cecil M. Cheves, for Pearce.
